         Case 1:22-cv-01391-BAH Document 20 Filed 09/28/22 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

MICHAELA HEMPHILL, et al.,                     )
                                               )
       Plaintiffs,                             )
                                               )
       v.                                      )            Civil Action No. 22-CV-1391
                                               )
MIGUEL CARDONA, Secretary of the               )
United States Department of Education, et al., )
                                               )
       Defendants.                             )
__________________________________________)

                                  JOINT STATUS REPORT

       Pursuant to this Court’s Order on August 16, 2022, the parties provide this joint status

report. For the reasons stated below, the parties respectfully propose providing this Court another

joint status report on November 17, 2022.

Joint Statement

       This case seeks class-wide relief pursuant to 5 U.S.C. § 706 on behalf of certain students

who enrolled in the Criminal Justice program at Westwood College in Illinois and are part of a

request submitted in 2016 by the Illinois Attorney General’s Office to the U.S. Department of

Education to have their federal student loans discharged. Defendants, Miguel Cardona, in his

official capacity as the Secretary of Education, and the United States Department of Education

(together, “Department” or “Defendants”) filed an Answer to Plaintiffs’ Amended Complaint on

August 25, 2022. There are no other pending deadlines in the case.

       On August 30, 2022, the Department announced that it will “discharge all remaining

federal student loans for borrowers who enrolled in any location of Westwood College (including

enrollment in Westwood's online program) between January 1, 2002 through November 17, 2015

when it stopped enrolling new borrowers in advance of its 2016 closure.” Press Release, U.S. Dep’t
           Case 1:22-cv-01391-BAH Document 20 Filed 09/28/22 Page 2 of 4

                                                  2


of Educ., Education Department Approves $1.5 billion in Debt Relief for 79,000 Borrowers Who

Attended     Westwood      College     (August     30,    2022),    https://www.ed.gov/news/press-

releases/education-department-approves-15-billion-debt-relief-79000-borrowers-who-attended-

westwood-college. The announcement attests that loan discharges will be provided regardless of

whether those enrolled during this time span “have applied for a borrower defense discharge” and

“[r]elief will be granted without any additional actions by the borrowers.” Id. The Department has

not yet issued notice of these discharges directly to affected borrowers.

       Since the Department’s announcement, the parties have been in discussions about the

details of the Department’s implementation of debt relief for former Westwood students; how such

implementation will impact the named Plaintiffs and proposed class in this litigation; and how

such implementation will affect future litigation in this case, if any.

       As discussions between the parties are ongoing, the parties respectfully propose providing

this Court another joint status report on November 17, 2022.



Dated: September 28, 2022                      Respectfully submitted,



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         Case 1:22-cv-01391-BAH Document 20 Filed 09/28/22 Page 3 of 4

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*application for admission pro hac vice granted
**application for admission to D.D.C. forthcoming
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App. R. 46-A (Emergency Examination Waiver)



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Case 1:22-cv-01391-BAH Document 20 Filed 09/28/22 Page 4 of 4

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